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                                                            March 20, 2013
VIA ECF

Honorable Jed. S. Rakoff
United States District Court
Southern District of New York
500 Pearl Street, Room 1340
New York, New York 10007

        Re: United States v. Henareh, Si 11 Cr. 93 (JSR)

Dear Judge Rakoff:
       I am CJA counsel to defendant Siavosh Henareh in the above-referenced matter. I write
to submit Mr. Henareh's further objections and comments to the Presentence Report ("PSR") in
advance of his sentencing hearing today.
       Pursuant to Your Honor's instructions at the hearing held on February 27, 2013, Mr.
Henareh's PSR was translated in writing into Farsi and delivered to him at the MCC on March
13, 2013. Thereafter, on March 18, 2013, at a meeting at the MCC to review the PSR with Mr.
Henareh, he informed me that he had sent a message containing these comments via CorrLinks.
This message, which was only delivered to my CorrLinks inbox late in the evening of the 18th,
was translated from Romanian into English and is hereby submitted, at my client's specific
direction, as an addendum to the arguments set forth in our previously filed sentencing
memorandum.




                                                           Respectfully submitted,



                                                           Robert W. Ray
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 From:           HENAREH, SIAVOSH (65976054)

 Sent Date:      Monday, March 18, 2013 8:36 PM

Subject:         OBJECTION

TODAY, 03.13.2013, I RECEIVED THE TRANSLATION INTO FARSI OF THE MEMORANDUM WRITTEN BY MRS. DAWN
DOINO ON 20/02/2013 AND I HAVE READ IT CAREFULLY. I HAVE NOTICED VERY MANY MISTAKES, ERRORS AND
THINGS THAT DO NOT BELONG TO ME, SUCH AS:
  - COUNT 1 POINT 2 PAGE 3 OF THE MEMO IN WHICH I AM CHARGED TOGETHER WITH MR. CETIN AKSU, SAYS THAT
  WE WANTED TO DISTRIBUTE 1 KG OF HEROIN OR MORE WITH THE DESTINATION: AMERICA.
  -MY ANSWER IS: I NEVER DISCUSSED WITH TURKISH CITIZEN CETIN AKSU OR WITH OTHER PERSONS TO
  DISTRIBUTE 1 KG OR MORE OF HEROIN TO AMERICA OR TO ANY OTHER COUNTRY.
  - COUNT 2 AND 3 PAGE 3 DOES NOT BELONG ENTIRELY TO ME, EVERYTHING BELONGS TO CITIZEN BACHAR WHEBE
 AND CETIN AKSU.
 - POINTS PAGE 4 SAYS THAT, PURSUANT TO ARTICLE 853 P TITLE 21 THE PROPERTY OBTAINED THROUGH ILLEGAL
  BUSINESS ACTIVITIES MUST BE FORFEITED. I REMIND YOU THAT I HAVE NEVER DONE ILLEGAL BUSINESS ACTIVITIES
  FOR MY PROPERTY TO BE FORFEITED.
 - POINT 6 PAGE 4 DOES NOT BELONG TO ME
 - POINT 9 AND 10 PAGE 5 ALSO DO NOT BELONG TO ME
 - POINT 12 PAGE 5 MY ANSWER IS THAT I WENT TO TURKEY FOR LEGAL BUSINESS SUCH AS: SALES OF MEAT AND
 ANIMALS FROM ROMANIA TO TURKEY. I HAVE NOT INTRODUCED ANYONE AS SELLER OR BUYER OF DRUGS. IF I
 DID INTRODUCE OR IF THERE IS [SUCH A PERSON] WHY ISN'T HE/SHE UNDER ARREST?
 - POINT 13 ON PAGE 5, MYSELF, TOGETHER WITH AGENT 2 AND MUSTAFA NERGIZ DID NOT HAVE A MEETING IN
 TURKEY OR IN ANY OTHER COUNTRY TO DISCUSS HEROIN BUSINESS OR COMMISSIONS BECAUSE I DO NOT KNOW
 AND I HAVE NEVER IN MY LIFE SEEN MUSTAFA NERGIZ. HERE IN POINT 13 PAGES YOU HAVE MISTAKEN ME FOR
 CETIN AKSU, BECAUSE IN POINT 16 PAGE 6 IT SAYS THAT MUSTAFA NERGIZ IS THE BOSS OF CETIN AKSU.
 - POINT 14 PAGE 5 MY ANSWER IS THAT I DID NOT DISCUSS WITH AGENTS 1 AND 2 OR WITH ANYONE ELSE ABOUT
 EXPORT OF DRUGS TO AMERICA OR TO ANY OTHER COUNTRY.
 - POINT 15 PAGE 5 THE SO-CALLED SELLER, THE TURKISH CITIZEN, WAS CALLED BY AGENTS 1 AND 2 BECAUSE I DO
 NOT KNOW HIM AND I HAVE NEVER SEEN HIM IN MY LIFE. THEY SHOWED A BAG FULL OF MONEY AND DISCUSSED
 IN TURKISH, A LANGUAGE WHICH I DO NOT UNDERSTAND. THE PROOF IS THAT ON CD NO. 7 N62 AND DVD 13.1
ASKED: "IS THIS MONEY FOR THE SALE AND PURCHASE OF PERSIAN RUGS?"
- POINT 16 AND 17 PAGE 6 DO NOT BELONG TO ME I DID NOT DISCUSS ARMS WITH AKSU OR WITH ANYONE ELSE.
- POINT 18 PAGE 6 IT IS TRUE THAT I RECEIVED THE AMOUNT OF US$ 23,000 FROM A ROMANIAN POLICE OFFICER
WHOSE NAME IS NISTOR
AGENT 2 ASKED ME TO GET THE MONEY FROM NISTOR AND TAKE IT TO HIS FRIEND WHO WAS WAITING FOR ME
AT THE MURAT COMPANY.
AGENT 2 ASKED ME TO PROVIDE THIS SERVICE FOR HIM AS HE WAS OUT OF THE COUNTRY.
THE ROMANIAN POLICE OFFICER WHOSE NAME IS NISTOR WAS A WITNESS IN MY TRIAL DATED NOVEMBER 19,
2012, WHERE HE STATED THAT HENAREH DID NOT KNOW THAT THIS MONEY IS FOR BUYING 1 KG OF DRUGS.
PLEASE NOTE THAT THE PERSON WHO DELIVERED THE 1 KG AMOUNT WAS NOT AND IS NOT AN ACQUAINTANCE
OF MINE, AGENT NUMBER 2 STATED THAT THE PERSON WHO DELIVERED THE DRUGS IS HIS FRIEND OF 20 YEARS,
WHOSE NAME IS ATALAY ATASOY AND I AM WONDERING WHY THIS PERSON IS NOT ARRESTED?
- POINT 19 PAGE 6 ON JULY 25, 2011 A TEAM CONSISTING OF 5 AGENTS, WHOSE NAMES ARE NISTOR, THE
ROMANIAN POLICE OFFICER, AGENT 2 AND 3 OTHER PERSONS CAME TO MY HOUSE UNINVITED TO MAKE IT LOOK
AS IF I HAD A CONNECTION WITH THIS ILLEGAL BUSINESS. I TRIED TO KICK THEM OUT OF THE HOUSE AND AT THAT
MOMENT
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THE POLICE CAME IN AND ARRESTED ME. PLEASE NOTE THAT I LEFT THE DOOR TO MY HOUSE OPEN.
- POINT 20 AND 21 PAGE 7 DOES NOT BELONG TO ME
- POINT 22 PAGE 7 ON JULY 25, 2011, THE DATE OF MY ARREST, AKSU WAS NOT PART OF THE 5 AGENT GROUP
THAT CAME TO MY HOUSE UNINVITED AND I DID NOT COUNT THIS MONEY WITH MR. AKSU.
AGENT 2 INSISTED THAT I TOUCH THE MONEY TO SEE IF IT WAS FAKE.
I REPEAT THAT AFTER I FOUND OUT THIS WAS AN ILLEGAL BUSINESS I TRIED TO KICK THEM OUT OF THE HOUSE.
- POINT 23 PAGE 7, I REPEAT THAT I, HENAREH, HAVE NOT TALKED TO ANYONE ABOUT 189 KG OF REAL OR FAKE
DRUGS AND I HAVE NOT TALKED ABOUT THIS ILLEGAL BUSINESS.
- POINT 24 PAGE 7 I HAVE NOT COMMITTED AND HAVE NOT TALKED ABOUT THE DISTRIBUTION OF MORE OR LESS
190 KG OF HEROIN TO AMERICA OR TO ANOTHER COUNTRY.
BUT IN POINT 26 PAGE 7 IT SAYS THAT CETIN AKSU COMMITTED TO DISTRIBUTE THE DRUGS TO AMERICA.
HERE YOU HAVE MISTAKEN ME FOR CETIN AKSU.
- POINT 25 AND 26 PAGE 7 BELONG TO CETIN AKSU AND BACHAR WHEBE.

DEAR SIR, I INSISTENTLY ASK YOU TO INTERCEDE, AS MY REPRESENTATIVE, WITH THE PROBATION OFFICE, WITH
MRS. DAWN DOINO, TO CHANGE WHAT I HAVE EXPLAINED TO YOU JUST NOW, I AM TELLING YOU THIS WITH THE
HOPE THAT YOU SEE AND UNDERSTAND THE REALITY OF THIS CASE.

RESPECTFULLY YOURS,
HENAREH, SIAVOSH.




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